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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

Christina Giancursio , : Civil Action No.:

Plaintiff,
Vv,

Accounts Receivable Management, Inc.; and
DOES 1-10, inclusive, COMPLAINT

Defendants,

 

For this Complaint, the Piaintiff, Christina Giancursio, by undersigned counsel, states as

follows:

JURISDICTION

l. This action arises out of the Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of the
Plaintiff's personal privacy by the Defendants and their agents in their illegal efforts to collect a
consumer debt.

2. Supplemental jurisdiction exists pursuant to 28 U.S.C, § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the
Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District,

PARTIES

4, The Plaintiff, Christina Giancursio (“Plaintiff’), is an adult individual residing in
Hilton, New York, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

5. The Defendant, Accounts Receivable Management, Inc. (“ARM”), is a New
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Jersey business entity with an address of 155 Mid Atlantic Parkway, Thorofare, New Jersey
08086, operating as a collection agency, and is a “debt collector” as the term is defined by 15
U.S.C. § 1692a(6).

6, Does 1-10 (the “Collectors”) are individual collectors employed by ARM and
whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be
joined as parties once their identities are disclosed through discovery.

7. ARM at all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt

8. The Plaintiff incurred a financial obligation in the approximate amount of $411.00
(the “Debt”) to Premier Bank (the “Creditor”).

9, The Debt arose from services provided by the Creditor which were primarily for
family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5),

10. The Debt was purchased, assigned or transferred to ARM for collection, or ARM

was employed by the Creditor to collect the Debt.
11. The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C, § 1692a(2),
B. ARM Engages in Harassment and Abusive Tactics

12. After having noticed a negative marking on her credit report place by ARM,
Plaintiff called ARM and offered to settle the Debt.

13. Plaintiff informed ARM that she could not pay the amount suggested by ARM

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and asked if she could pay in July.

14, “Mike Jones”, a collector for ARM, stated that he would note that Plaintiff
refused to pay.

15. Thereafter, ARM began placing calis to Plaintiff's cellular phone line.

16. ARM called Plaintiff during her working hours, despite Plaintiff having explicitly
asked ARM not to call her from 8:00 am until 5:00 pm.

17. During the phone communications representatives of ARM failed to inform
Plaintiff that the communication was an attempt to collect a debt and everything Plaintiff said
would be used for that purpose.

18. Representatives of ARM demanded that Plaintiff provide detailed information on
her and her fiancé’s financial matters. When Plaintiff refused to provide such information
Defendants stated: “You don’t want to give us your financial information, because when it adds
up it will show that you are a liar and that you can pay the debt!”

19, Defendants said they would give her one last chance to “be honest and pay the
debt” and then hung up.

20. Defendants threatened Plaintiff with a lawsuit if she failed to pay the Debt. No
such lawsuit has been filed to date.

21. Defendants failed to inform Plaintiff of her rights under the state and federal laws
by written correspondence within 5 days after the initial communication, including the right to

dispute the Debt.
C. Plaintiff Suffered Actual Damages

22, The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.
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23, Asa direct consequence of the Defendants’ acts, practices and conduct, the
Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

COUNT I
VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, ef seq.

24, —- The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

25. The Defendants’ conduct violated 15 U.S.C, § 1692c(a)(1) in that Defendants
contacted the Plaintiff at a place and during a time known to be inconvenient for the Plaintiff.

26, The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used
profane and abusive language when speaking with the consumer.

27. The Defendants’ conduct violated 15 U.S.C. § 1692d(S) in that Defendants caused
a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to
annoy and harass,

28. The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants
threatened to take legal action, without actually intending to do so.

29. The Defendants’ conduct violated 15 U.S.C. § 1692e(1 1) in that Defendants failed
to inform the consumer that the communication was an attempt to collect a debt.

30. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that Defendants
failed to send the Plaintiff a validation notice stating the amount of the Debt.

31. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that Defendants
failed to send the Plaintiff a validation notice stating the name of the original creditor to whom
the Debt was owed.

32. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that Defendants
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tailed to send the Plaintiff a validation notice stating the Plaintiffs right to dispute the Debt
within thirty days.

33. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that Defendants
failed to send the Plaintiffa validation notice informing the Plaintiff of a right to have
verification and judgment mailed to the Plaintiff.

34. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that Defendants
failed to send the Plaintiff validation notice containing the name and address of the original
creditor.

35, The foregoing acts and omissions of the Defendants constitute numerous and
multiple violations of the FDCPA, including every one of the above-cited provisions.

36. The Plaintiff is entitled to damages as a result of Defendants’ violations,

COUNT I
VIOLATIONS OF NEW YORK GBL § 349
ENGAGING IN UNLAWFUL DECEPTIVE PRACTICES AND ACTS

37. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully set forth herein at length.

38. The acts, practices and conduct engaged in by the Defendants and complained of
herein constitute “deceptive acts and practices” within the meaning of Article 22A of the General
Business Law of the State of New York, NY GBL § 349.

39. The Defendants willfully and knowingly engaged in conduct constituting
deceptive acts and practices in violation of NY GBL§ 349.

40. The Plaintiff has suffered and continues to suffer actual damages as a resuit of the
foregoing acts and practices, including damages associated with, among other things,

humiliation, anger, anxiety, emotional distress, fear, frustration and embarrassment caused by the
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Defendants.

4]. By virtue of the foregoing, the Plaintiff is entitled to recover actual damages,

irebled, together with reasonable attorneys’ fees.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff respectfully prays that judgment be awarded in the

Plaintiff's favor and against the Defendants as follows:

1. Against the named the Defendants, jointly and severally, awarding the Plaintiff
actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

2, Against each of the named the Defendants, awarding the Plaintiff statutory
damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

3. Against the named the Defendants, jointly and severally, awarding the Plaintiif
actual damages, trebled, pursuant to NY GBL § 349;

4, Against the named the Defendants, jointly and severally, awarding the Plaintiff
recovery of the costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.
§ 1692k(a)(3);

5. Against the named the Defendants, jointly and severally, awarding the Plaintiff
punitive damages in such amount as is found appropriate; and

6. Granting the Plaintiff such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: April 26, 2011

Respéctfully|submitted,

 

 
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